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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00236-GEB
11
                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
12                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           [PROPOSED] FINDINGS AND ORDER
13
     NELLI KESOYAN and VANIK
14   MOVSESYAN,
15                                Defendants.
16

17                                               STIPULATION

18          1.      By previous order, a motions hearing and status conference in this matter was continued

19 to April 28, 2017, to afford defendants additional time to complete their pretrial motions. ECF Nos. 80,

20 81. The Court had previously excluded time through March 10, 2017, under Local Code T4. ECF No.
21 79.

22          2.      By this stipulation, the parties now request that the Court exclude time for purposes of the

23 Speedy Trial Act, 18 U.S.C. § 3161 et seq., through the April 28, 2017, hearing under Local Code T4.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has provided approximately 3600 pages of discovery in this case,

26          including several audio and video recordings. Three hundred pages and two CDs of recordings

27          were provided to the defense on January 23, 2017. In addition to the discovery which has been

28          produced directly to counsel, additional discovery has been made available for inspection and


      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
30    FINDINGS AND ORDER
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 1          copying.

 2                  b)     The parties’ prior stipulation requesting the hearing’s continuance to April 28,

 3          2017 (ECF No. 80), was based upon defense counsels’ desire for additional time to review the

 4          discovery, conduct investigation and research related to the charges, to prepare pretrial motions,

 5          and to otherwise prepare for trial.

 6                  c)     Counsel for defendants believe that the continuance was needed to provide

 7          counsel the reasonable time necessary for effective preparation, taking into account the exercise

 8          of due diligence.

 9                  d)     The government did not object to the continuance.

10                  e)     Based on the above-stated findings, the ends of justice served by continuing the

11          hearing to April 28, 2017, as previously requested and ordered, outweigh the interest of the

12          public and the defendant in a trial within the original date prescribed by the Speedy Trial Act.

13                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of March 10, 2017, through April 28,

15          2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

17          of the Court’s finding that the ends of justice served by taking such action outweigh the best

18          interest of the public and the defendant in a speedy trial.

19          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
21 must commence.

22          IT IS SO STIPULATED.

23
     Dated: February 7, 2017                                  PHILLIP A. TALBERT
24                                                            United States Attorney
25
                                                              /s/ JEREMY J. KELLEY
26                                                            JEREMY J. KELLEY
                                                              Assistant United States Attorney
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        2
30    FINDINGS AND ORDER
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 1
     Dated: February 7, 2017                             /s/ KRESTA NORA DALY
 2                                                       KRESTA NORA DALY
                                                         Counsel for Defendant
 3
                                                         VANIK MOVSESYAN
 4

 5 Dated: February 7, 2017                               /s/ ALAN J. DONATO
                                                         ALAN J. DONATO
 6                                                       Counsel for Defendant
                                                         NELLI KESOYAN
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10                                          FINDINGS AND ORDER
11         IT IS SO FOUND AND ORDERED.
12         Dated: February 7, 2017
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
30    FINDINGS AND ORDER
